                                  Caseyour
     Fill in this information to identify 20-19402-PDR
                                             case:                  Doc 1         Filed 08/28/20           Page 1 of 28
     United States Bankruptcy Court for the:

     ____________________
     Southern              District of _________________
              District of Florida      (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                               Chapter 7
                                                            
                                                            ✔
                                                            
                                                                Chapter 11
                                                                Chapter 12
                                                                                                                                         Check if this is an
                                                               Chapter 13                                                                  amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        Destination  Hope, Inc.
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               6460 NW 5th Way                                          _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               Fort Lauderdale               FL    33309
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Broward County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)                www.destinationhope.com
                                           ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
                                  Case 20-19402-PDR                 Doc 1      Filed 08/28/20             Page 2 of 28

                Destination Hope, Inc.
Debtor          _______________________________________________________                         Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            6232
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                              affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
       A debtor who is a “small business                      recent balance sheet, statement of operations, cash-flow statement, and federal
       debtor” must check the first sub-                      income tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                       The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                        Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
       “small business debtor”) must                          statement of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When                __________________
      List all cases. If more than 1,                                                                                         MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 2
                                Case 20-19402-PDR                      Doc 1      Filed 08/28/20             Page 3 of 28

              Destination Hope, Inc.
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______     ________________
                                                                                City                                            State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             ✔


                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49                             1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99
                                             ✔
                                                                               5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000                       $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million
                                             ✔
                                                                               $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
                               Case 20-19402-PDR                      Doc 1            Filed 08/28/20       Page 4 of 28

               Destination Hope, Inc.
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name



                                            $0-$50,000                         $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                   $10,000,001-$50 million
                                                                                   ✔
                                                                                                                          $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                               petition.
      debtor
                                              I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                               correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              08/28/2020
                                               Executed on _________________
                                                           MM / DD / YYYY


                                            /s/ Benjamin Brafman
                                               _____________________________________________               Benjamin Brafman
                                                                                                          _______________________________________________
                                               Signature of authorized representative of debtor           Printed name

                                                      President
                                               Title _________________________________________




18.   Signature of attorney
                                            /s/ Aaron Wernick
                                               _____________________________________________              Date         08/28/2020
                                                                                                                       _________________
                                                Signature of attorney for debtor                                       MM   / DD / YYYY



                                                Aaron Wernick
                                               _________________________________________________________________________________________________
                                               Printed name
                                                Wernick Law, PLLC
                                               _________________________________________________________________________________________________
                                               Firm name
                                                2255 Glades Road Suite 324A
                                               _________________________________________________________________________________________________
                                               Number     Street
                                                Boca Raton
                                               ____________________________________________________             FL            33431
                                                                                                              ____________ ______________________________
                                               City                                                           State        ZIP Code

                                                561-961-0922
                                               ____________________________________                              awernick@wernicklaw.com
                                                                                                              __________________________________________
                                               Contact phone                                                  Email address



                                                14059                                                           FL
                                               ______________________________________________________ ____________
                                               Bar number                                             State




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 4
                                     Case 20-19402-PDR              Doc 1        Filed 08/28/20              Page 5 of 28

      Fill in this information to identify the case:

                    Destination Hope, Inc.
      Debtor name __________________________________________________________________

                                              Southern District of Florida
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                          Check if this is an
      Case number (If known):     _________________________                                                                                   amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                        12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete             Name, telephone number,      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code       and email address of         (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact             debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                            professional          unliquidated,   total claim amount and deduction for value of
                                                                            services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                  Total claim, if    Deduction for       Unsecured
                                                                                                                  partially          value of            claim
                                                                                                                  secured            collateral or
                                                                                                                                     setoff
     TRICARE                                                              Medical billing         Disputed
1    PO Box 8923
                                                                                                                                                       1,500,000.00
     Madison, WI, 53707-8923


     City National Bank                                                   PPP loan
2    100 SE 2nd St.
                                                                                                                                                       1,230,000.00
     Miami, FL, 33131

     EastGroup Properties Inc.                                            Breach of lease         Disputed
3    3495 Piedmont Road NE
     Building 11, Ste #350
                                                                                                                                                       800,000.00
     Atlanta, GA, 30305


     Halpern Family Trust                     Marty Halpern               Loan to company
4    1711 N. Fort Lauderdale Beach Blvd
                                                                                                                                                       600,000.00
     Fort Lauderdale, FL, 33305


     Cigna                                                                Medical billing         Disputed
5    900 Cottage Grove Road
                                                                                                                                                       570,276.74
     Hartford, CT, 6152

     Professional Revenue Recovery                                        Billing solutions       Disputed
6    Solutions, Inc.
     13630 NW 8th St.                                                                                                                                  400,000.00
     Suite 220
     Sunrise, FL, 33325

     3831 Crystal Lake Drive, LLC                                         Unpaid rent
7    2707-2709 NE 33rd Ave
                                                                                                                                                       240,000.00
     Fort Lauderdale, FL, 33308

     David Gussack                            David Gussack               Loan to business
8    1851 Blount Road
                                                                                                                                                       227,000.00
     Pompano Beach, FL, 33069




    Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
                                     Case 20-19402-PDR                 Doc 1        Filed 08/28/20                 Page 6 of 28

                    Destination Hope, Inc.
    Debtor         _______________________________________________________                           Case number (if known)_____________________________________
                   Name




     Name of creditor and complete             Name, telephone number,         Nature of the claim      Indicate if     Amount of unsecured claim
     mailing address, including zip code       and email address of            (for example, trade      claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact                debts, bank loans,       contingent,     claim amount. If claim is partially secured, fill in
                                                                               professional             unliquidated,   total claim amount and deduction for value of
                                                                               services, and            or disputed     collateral or setoff to calculate unsecured claim.
                                                                               government
                                                                               contracts)
                                                                                                                        Total claim, if    Deduction for       Unsecured
                                                                                                                        partially          value of            claim
                                                                                                                        secured            collateral or
                                                                                                                                           setoff
     Bankers Healthcare Group, LLC                                           Loan to business
9    201 Solar Street
                                                                                                                                                              204,710.26
     Syracuse, NY, 13204

     AJ Equity Group, LLC                                                    MCA                        Disputed
10 1648 61st Street                                                                                     Unliquidated
                                                                                                                                                              201,698.54
     Brooklyn, NY, 11204


     Pontus SW Portfolio LLC                  858-345-4544                   Rent arrearage and
11 875 Prospect Street                                                       property tax
     Suite 303                                                                                                                                                200,000.00
     La Jolla, CA, 92037

     Alantes Corp attn: Ken Dotson            Kenneth R. Dotson              Brokerage commission       Disputed
12 510 5th Avenue                             646-820-6085 or 310-462-4506
     3rd Floor                                                                                                                                                200,000.00
     New York, NY, 10036


     Aetna                                                                   Medical billing            Disputed
13 PO Box 14079
                                                                                                                                                              200,000.00
     Lexington, KY, 40512

     BMF Capital                              Gabe Isaacov                   MCA                        Disputed
14 1820 Avenue M                                                                                        Unliquidated
                                                                                                                                                              197,846.32
     Brooklyn, NY, 11230

     MD Solutions Group                       561-223-1504                   Billing solutions          Disputed
15 3330 Fairchild Gardens Ave
     #32613
                                                                                                                                                              163,443.30
     Palm Beach Gardens, FL, 33420

     SBA                                                                     EIDL loan
16 51 SW 1st Ave #201, Miami, FL 33130
                                                                                                                                                              160,000.00
     Miami, FL, 33130

     Nole Financial                           305-323-9254                   Loan brokerage             Disputed
17 701 Brickell Key Blvd.
     #CU-02
     Miami, FL, 33131                                                                                                                                         100,000.00


     Cindy Wisdom                             Cindy Wisdom                   Loan to business
18 821 NW 66th Avenue                         954-591-0492
                                                                                                                                                              80,000.00
     Plantation, FL, 33317-1235

     Marlin Capital Solutions                                                Equipment lease - stolen
19 300 Fellowship Road                                                       equipment

     Mount Laurel, NJ, 08054                                                                                                                                  79,593.20


     CapFlow                                  347-962-7976                   MCA                        Disputed
20 2232 Brigham Street                                                                                  Unliquidated
     #5K                                                                                                                                                      65,332.91
     Brooklyn, NY, 11229




    Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                      page 2
                                       Case 20-19402-PDR                       Doc 1         Filed 08/28/20               Page 7 of 28
  Fill in this information to identify the case:
              Destination Hope, Inc.
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: Southern  District of Florida

  Case number (If known):       _________________________                                                                                               Check if this is an
                                                                                                                                                            amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                 Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                  Amount of claim           Value of collateral
                                                                                                                                 Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien            of collateral.            claim
     Ford Credit                                                 12-person passenger van
      __________________________________________                                                                                   5,680.54
                                                                                                                                 $__________________          Undetermined
                                                                                                                                                            $_________________

     Creditor’s mailing address

      PO Box 650575
      ________________________________________________________
      Dallas, TX 75265-0575
      ________________________________________________________

                                                                 Describe the lien
    Creditor’s email address, if known
                                                                 Agreement    you made
                                                                 _________________________________________________
      _________________________________________
                                                                 Is the creditor an insider or related party?
    Date debt was incurred           __________________          
                                                                 ✔   No
    Last 4 digits of account                                        Yes
    number                   _________________                   Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                
                                                                 ✔   No
    same property?                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    
    ✔
      No
                                                                 As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                 Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     Ford Credit
                                                                 12-person passenger van                                         $__________________
                                                                                                                                  5,702.33                  $_________________
                                                                                                                                                             Undetermined
      __________________________________________
     Creditor’s mailing address
      PO Box 650575
      ________________________________________________________
      Dallas, TX 75265-0575
      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                 Describe the lien
    Date debt was incurred __________________
    Last 4 digits of account                                      Agreement you made
                                                                  _________________________________________________
    number                   _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                
                                                                 ✔   No
    same property?                                                  Yes
    
    ✔ No
                                                                 Is anyone else liable on this claim?
     Yes. Have you already specified the relative                  No
              priority?
                                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             No. Specify each creditor, including this
                   creditor, and its relative priority.          As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
             Yes. The relative priority of creditors is            Unliquidated
                  specified on lines _____                          Disputed

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                    4,754,369.45
                                                                                                                                  $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                          4
                                                                                                                                                              page 1 of ___
                                        Case 20-19402-PDR
                   Destination Hope, Inc.
                                                                              Doc 1         Filed 08/28/20               Page 8 of 28
  Debtor            _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                              Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  3 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Ford Credit
                                                                12-person passenger van
     __________________________________________                                                                                  33,158.56
                                                                                                                                $__________________       Undetermined
                                                                                                                                                        $_________________
     Creditor’s mailing address

     PO Box 650575
     ________________________________________________________

     Dallas, TX 75265-0575
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred           __________________         Describe the lien
    Last 4 digits of account                                     Agreement you made
                                                                 __________________________________________________
    number                   _________________
                                                                Is the creditor an insider or related party?
    Do multiple creditors have an interest in the               
                                                                ✔   No
    same property?                                                 Yes
    
    ✔ No

     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔   No
              No. Specify each creditor, including this           Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                   Contingent
              Yes. The relative priority of creditors is          Unliquidated
                   specified on lines _____                        Disputed


2.__
  4 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Newtek Small Business Finance, LLC


     __________________________________________                                                                                  1,498,188.00
                                                                                                                                $__________________        Undetermined
                                                                                                                                                        $_________________
     Creditor’s mailing address


      1981 Marcus Avenue
     ________________________________________________________

      Suite 130, Lake Success, NY 11042
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred           __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   1344
                             _________________                   Blanket lien
                                                                 __________________________________________________


    Do multiple creditors have an interest in the               Is the creditor an insider or related party?
    same property?                                              
                                                                ✔   No
    
    ✔ No                                                           Yes

     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔   No
              No. Specify each creditor, including this
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                   Contingent
              Yes. The relative priority of creditors is          Unliquidated
                   specified on lines _____                        Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___
                                                                                                                                                                 2 of ___
                                                                                                                                                                       4
                                        Case 20-19402-PDR
                   Destination Hope, Inc.
                                                                              Doc 1         Filed 08/28/20               Page 9 of 28
  Debtor            _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                              Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  5 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Newtek Small Business Finance, LLC

     __________________________________________                                                                                  1,427,473.34
                                                                                                                                $__________________       Undetermined
                                                                                                                                                        $_________________
     Creditor’s mailing address

     1981 Marcus Avenue
     ________________________________________________________

     Suite 130, Lake Success, NY 11042
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred           __________________         Describe the lien
    Last 4 digits of account                                     Blanket lien
                                                                 __________________________________________________
    number                   _________________
                             5174
                                                                Is the creditor an insider or related party?
    Do multiple creditors have an interest in the               
                                                                ✔   No
    same property?                                                 Yes
    
    ✔ No

     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔   No
              No. Specify each creditor, including this           Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                   Contingent
              Yes. The relative priority of creditors is          Unliquidated
                   specified on lines _____                        Disputed


2.__
  6 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     SG Credit Partners


     __________________________________________                                                                                  1,784,166.68
                                                                                                                                $__________________        Undetermined
                                                                                                                                                        $_________________
     Creditor’s mailing address


      23 Corporate Plaza
     ________________________________________________________

      Suite #100, Newport Beach, CA 92660
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred           __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   _________________                   Blanket lien
                                                                 __________________________________________________


    Do multiple creditors have an interest in the               Is the creditor an insider or related party?
    same property?                                              
                                                                ✔   No
    
    ✔ No                                                           Yes

     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔   No
              No. Specify each creditor, including this
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                   Contingent
              Yes. The relative priority of creditors is       
                                                                ✔   Unliquidated
                   specified on lines _____                        Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___
                                                                                                                                                                 3 of ___
                                                                                                                                                                       4
                               Case 20-19402-PDR                    Doc 1        Filed 08/28/20             Page 10 of 28
Debtor
               Destination Hope, Inc.
               _______________________________________________________                            Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                                did you enter the            account number
                                                                                                                related creditor?            for this entity


                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




Form 206D                          Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
                                                                                                                                                      4 of ___
                                                                                                                                                           4
                                  Case 20-19402-PDR                  Doc 1          Filed 08/28/20        Page 11 of 28
   Fill in this information to identify the case:

   Debtor
                    Destination Hope, Inc.
                    __________________________________________________________________

                                           Southern District of Florida
   United States Bankruptcy Court for the: ________________________________

   Case number       ___________________________________________
    (If known)

                                                                                                                                     Check if this is an
                                                                                                                                        amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                    12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :       List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        No. Go to Part 2.
    
    ✔    Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                         Total claim                Priority amount
2.1 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           0.00
    Broward County Tax Collector                                                                                                    $_________________
                                                            Check all that apply.
    115 S. Andrews Ave                                         Contingent
    Room # A100                                                Unliquidated
    Fort Lauderdale, FL, 33301                                 Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    _________________________________

    Last 4 digits of account                                Is the claim subject to offset?
    number      _______________________                     ✔ No

                                                             Yes
    Specify Code subsection of PRIORITY unsecured
                                8
    claim: 11 U.S.C. § 507(a) (_____)
    Priority creditor’s name and mailing address
2.2 Florida Dept of Revenue                                 As of the petition filing date, the claim is: $______________________
                                                                                                            0.00                    $_________________
                                                            Check all that apply.
    5050 W Tennessee Street
    Bldg L                                                     Contingent
    Tallahassee, FL, 32399-0180                                Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred
                                                             Taxes & Other Government Units
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔ No

    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                                8
2.3 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           800,000.00
    Internal Revenue Service                                                                                                        $_________________
                                                            Check all that apply.
    111 Constitution Avenue NW
                                                               Contingent
                                                               Unliquidated
    Washington , DC                                            Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    2019  2020
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔
                                                                 No
    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                               8


  Official Form 206E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                               11
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                               Case 20-19402-PDR
               Destination Hope, Inc.                              Doc 1          Filed 08/28/20               Page 12 of 28
  Debtor       _______________________________________________________                               Case number (if known)_____________________________________
                Name


 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                               Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    121 Capital                                                                                                                0.00
                                                                                                                             $________________________________
                                                                              Contingent
    178 Manhattan Street                                                      Unliquidated
                                                                           
                                                                           ✔
                                                                               Disputed
    Staten Island, NY, 10307                                                                       Brokerage commission
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________          Is the claim subject to offset?

    Last 4 digits of account number            ___________________         
                                                                           ✔   No
                                                                              Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    3831 Crystal Lake Drive, LLC                                           Check all that apply.                               240,000.00
                                                                                                                             $________________________________
    2707-2709 NE 33rd Ave                                                     Contingent
                                                                              Unliquidated
    Fort Lauderdale, FL, 33308                                                Disputed
                                                                           Basis for the claim:
                                                                                                   Unpaid rent


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔   No
    Last 4 digits of account number            __________________             Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Aetna                                                                                                                      200,000.00
                                                                                                                             $________________________________
                                                                              Contingent
    PO Box 14079                                                              Unliquidated
                                                                           
                                                                           ✔   Disputed
     Lexington, KY, 40512
                                                                           Basis for the claim:
                                                                                                   Medical billing

    Date or dates debt was incurred            ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    AJ Equity Group, LLC                                                   Check all that apply.
                                                                                                                               201,698.54
                                                                                                                             $________________________________
    1648 61st Street                                                          Contingent
                                                                           
                                                                           ✔   Unliquidated
    Brooklyn, NY, 11204                                                    
                                                                           ✔   Disputed
                                                                            Basis for the claim:
                                                                                                   MCA

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

    Last 4 digits of account number            __________________          
                                                                           ✔
                                                                               No
                                                                              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Alantes Corp attn: Ken Dotson                                                                                              200,000.00
                                                                                                                             $________________________________
                                                                           Check all that apply.
    510 5th Avenue                                                            Contingent
    3rd Floor                                                                 Unliquidated
    New York, NY, 10036                                                    
                                                                           ✔   Disputed
                                                                           Basis for the claim:
                                                                                                   Brokerage commission

    Date or dates debt was incurred            ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Andrew Merker                                                                                                              40,000.00
                                                                                                                             $________________________________
                                                                           Check all that apply.
    1535 Mt Vernon Rd                                                         Contingent
                                                                              Unliquidated
     Dunwoody, GA, 30338                                                   
                                                                           ✔   Disputed
                                                                           Basis for the claim:     Loan to business

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
    Last 4 digits of account number            ___________________         
                                                                           ✔
                                                                               No
                                                                              Yes


    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                       2 of ___
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                  Destination Hope, Inc.                       Doc 1        Filed 08/28/20             Page 13 of 28
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             30,000.00
                                                                                                                     $________________________________
 Anthony S. Hearn P.A                                                   Contingent
 One Biscayne Tower                                                     Unliquidated
 2 Biscayne Blvd, Ste 3400                                              Disputed
 Miami, FL, 33131
                                                                     Basis for the claim: Legal services



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       204,710.26
                                                                                                                     $________________________________
 Bankers Healthcare Group, LLC
 201 Solar Street                                                       Contingent
                                                                        Unliquidated
 Syracuse, NY, 13204                                                    Disputed

                                                                     Basis for the claim: Loan to business



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 BMF Capital                                                         Check all that apply.
                                                                                                                      197,846.32
                                                                                                                     $________________________________
 1820 Avenue M                                                          Contingent
                                                                     
                                                                     ✔
                                                                         Unliquidated
 Brooklyn, NY, 11230                                                 
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: MCA



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      65,332.91
                                                                                                                     $________________________________
 CapFlow                                                             Check all that apply.
 2232 Brigham Street                                                    Contingent
 #5K                                                                 
                                                                     ✔
                                                                         Unliquidated
 Brooklyn, NY, 11229                                                 
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: MCA



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Cigna                                                               Check all that apply.
                                                                                                                       570,276.74
                                                                                                                     $________________________________
 900 Cottage Grove Road                                                 Contingent
                                                                        Unliquidated
 Hartford, CT, 6152                                                  
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Medical billing



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 3 of ___
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                                Case 20-19402-PDR
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  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             80,000.00
                                                                                                                     $________________________________
 Cindy Wisdom                                                           Contingent
 821 NW 66th Avenue                                                     Unliquidated
                                                                        Disputed
 Plantation, FL, 33317-1235
                                                                     Basis for the claim: Loan to business



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       1,230,000.00
                                                                                                                     $________________________________
 City National Bank
 100 SE 2nd St.                                                         Contingent
                                                                        Unliquidated
 Miami, FL, 33131                                                       Disputed

                                                                     Basis for the claim: PPP loan



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       0-10
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 City of Deerfield Beach                                             Check all that apply.
                                                                                                                      1,990.29
                                                                                                                     $________________________________
 401 SW 4th Street                                                      Contingent
                                                                        Unliquidated
 Deerfield Beach, FL, 33441-4666                                        Disputed
                                                                     Basis for the claim: Waste/trash



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              3259                   
                                                                     ✔
                                                                         No
                                                                        Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      28,000.00
                                                                                                                     $________________________________
 Daszkal Bolton LLP                                                  Check all that apply.
 2401 NW Boca Raton Boulevard                                           Contingent
                                                                        Unliquidated
 Boca Raton, FL, 33431-6632                                          
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Accoutning services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                              7970                
                                                                  ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 David Gussack                                                       Check all that apply.
                                                                                                                       227,000.00
                                                                                                                     $________________________________
 1851 Blount Road                                                       Contingent
                                                                        Unliquidated
 Pompano Beach, FL, 33069                                               Disputed
                                                                     Basis for the claim: Loan to business



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 4 of ___
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  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             800,000.00
                                                                                                                     $________________________________
 EastGroup Properties Inc.                                              Contingent
 3495 Piedmont Road NE                                                  Unliquidated
 Building 11, Ste #350                                               
                                                                     ✔   Disputed
 Atlanta, GA, 30305
                                                                     Basis for the claim: Breach of lease



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  18
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       10,000.00
                                                                                                                     $________________________________
 Group 716, LLC
 245 Country Club Drive                                                 Contingent
 Suite 300D                                                             Unliquidated
 Stockbridge, GA, 30281                                                 Disputed

                                                                     Basis for the claim: Unpaid rent



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  19
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Halpern Family Trust                                                Check all that apply.
                                                                                                                      600,000.00
                                                                                                                     $________________________________
 1711 N. Fort Lauderdale Beach Blvd                                     Contingent
                                                                        Unliquidated
 Fort Lauderdale, FL, 33305                                             Disputed
                                                                     Basis for the claim: Loan to company



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  20
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      1,700.00
                                                                                                                     $________________________________
 Healthpac Computer                                                  Check all that apply.
 1010 East Victory Drive                                                Contingent
 Suite B                                                                Unliquidated
 Savannah, GA, 31405                                                    Disputed

                                                                     Basis for the claim: Billing software



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  21
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 HealthSmart Benefit                                                 Check all that apply.
                                                                                                                       3,225.00
                                                                                                                     $________________________________
 PO Box 3244                                                            Contingent
                                                                        Unliquidated
 Charleston, WV, 25332-3244                                          
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Billing software



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 5 of ___
                                                                                                                                              page __    11
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  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  22
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             40,000.00
                                                                                                                     $________________________________
 Hewlett Packard Financial Services Co.                                 Contingent
 200 Connell Drive                                                      Unliquidated
 Suite 5000                                                             Disputed
 Berkeley Heights, NJ, 07922
                                                                     Basis for the claim: MCA



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  23
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       13,000.00
                                                                                                                     $________________________________
 Linda Hess
 1620 NW 121 Way                                                        Contingent
                                                                        Unliquidated
 Gainesville, FL, 32606                                                 Disputed

                                                                     Basis for the claim: Client refund



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  24
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marlin Capital Solutions                                            Check all that apply.
                                                                                                                      79,593.20
                                                                                                                     $________________________________
 300 Fellowship Road                                                    Contingent
                                                                        Unliquidated
 Mount Laurel, NJ, 08054                                                Disputed
                                                                     Basis for the claim: Equipment lease - stolen equipment



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  25
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      163,443.30
                                                                                                                     $________________________________
 MD Solutions Group                                                  Check all that apply.
 3330 Fairchild Gardens Ave                                             Contingent
 #32613                                                                 Unliquidated
 Palm Beach Gardens, FL, 33420                                       
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Billing solutions



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  26
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michael Anthony Volpe                                               Check all that apply.
                                                                                                                       0.00
                                                                                                                     $________________________________
 178 Manhattan Street                                                   Contingent
                                                                        Unliquidated
 Staten Island, NY, 10307                                            
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Broker commission



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 6 of ___
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                                Case 20-19402-PDR
                  Destination Hope, Inc.                       Doc 1        Filed 08/28/20             Page 17 of 28
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  27
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21,000.00
                                                                                                                     $________________________________
 Milner, Inc.                                                           Contingent
 PO Box 923197                                                          Unliquidated
                                                                        Disputed
 Norcross, GA, 30010-3197
                                                                     Basis for the claim: Copier lease



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  28
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       48,382.00
                                                                                                                     $________________________________
 Mr. Advance LLC
 35-12 19th Ave                                                         Contingent
                                                                     
                                                                     ✔
                                                                         Unliquidated
 Astoria, NY, 11105                                                  
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: MCA



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  29
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nole Financial                                                      Check all that apply.
                                                                                                                      100,000.00
                                                                                                                     $________________________________
 701 Brickell Key Blvd.                                                 Contingent
 #CU-02                                                                 Unliquidated
 Miami, FL, 33131                                                    
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Loan brokerage



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  30
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      19,433.02
                                                                                                                     $________________________________
 Pawnee Leasing Corp.                                                Check all that apply.
 3801 Automation Way                                                    Contingent
 Suite 207                                                              Unliquidated
 Fort Collins, CO, 80525                                                Disputed

                                                                     Basis for the claim: Medical eqipment



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  31
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Pontus SW Portfolio LLC                                             Check all that apply.
                                                                                                                       200,000.00
                                                                                                                     $________________________________
 875 Prospect Street                                                    Contingent
 Suite 303                                                              Unliquidated
 La Jolla, CA, 92037                                                    Disputed
                                                                     Basis for the claim: Rent arrearage and property tax



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 7 of ___
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  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  32
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             400,000.00
                                                                                                                     $________________________________
 Professional Revenue Recovery Solutions, Inc.                          Contingent
 13630 NW 8th St.                                                       Unliquidated
 Suite 220                                                           
                                                                     ✔   Disputed
 Sunrise, FL, 33325
                                                                     Basis for the claim: Billing solutions



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  33
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       160,000.00
                                                                                                                     $________________________________
 SBA
 51 SW 1st Ave #201, Miami, FL 33130                                    Contingent
                                                                        Unliquidated
 Miami, FL, 33130                                                       Disputed

                                                                     Basis for the claim: EIDL loan



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  34
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Shaboon Air & Refrigeration                                         Check all that apply.
                                                                                                                      4,428.31
                                                                                                                     $________________________________
 3530 NW 32nd Court                                                     Contingent
                                                                        Unliquidated
 Lauderdale Lakes, FL, 33309                                         
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: A/C repair



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  35
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      3,340.60
                                                                                                                     $________________________________
 ThyssenKrupp Elevator Corporation                                   Check all that apply.
 PO Box 3796                                                            Contingent
                                                                        Unliquidated
 Carol Stream, IL, 60132-3796                                           Disputed

                                                                     Basis for the claim: Elevator repair



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  36
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 TRICARE                                                             Check all that apply.
                                                                                                                       1,500,000.00
                                                                                                                     $________________________________
 PO Box 8923                                                            Contingent
                                                                        Unliquidated
 Madison, WI, 53707-8923                                             
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Medical billing



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 8 of ___
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  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  37
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             17,000.00
                                                                                                                     $________________________________
 Ultimate Water, LLC                                                    Contingent
 PO Box 677784                                                          Unliquidated
                                                                     
                                                                     ✔   Disputed
 Dallas, TX, 75267-7784
                                                                     Basis for the claim: Drinking water supplies



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       1000
                                              ___________________
  38
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       53,000.00
                                                                                                                     $________________________________
 Vanguard c/o Ascensus
 415 8th Avenue NE                                                      Contingent
                                                                        Unliquidated
 Brainerd, MN, 56401                                                    Disputed

                                                                     Basis for the claim: Retirement plan



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  39
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Waystar Revenue Cycle Technology                                    Check all that apply.
                                                                                                                      2,843.15
                                                                                                                     $________________________________
 1311 Solutions Center                                                  Contingent
                                                                        Unliquidated
 Chicago, IL, 60677-1311                                                Disputed
                                                                     Basis for the claim: Billing solutions



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              69076                  
                                                                     ✔
                                                                         No
                                                                        Yes
  40
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      24,164.10
                                                                                                                     $________________________________
 Weiss Serota Helfman Cole & Bierman, P.L.                           Check all that apply.
 1200 N. Federal Highway                                                Contingent
 Suite 312                                                              Unliquidated
 Boca Raton, FL, 33432                                                  Disputed

                                                                     Basis for the claim: Legal services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes

3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $________________________________
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                        No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 9 of ___
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     Debtor          _______________________________________________________                           Case number (if known)_____________________________________
                    Name



Pa rt 3 :           List Ot he rs t o Be N ot ifie d About Unse c ure d Cla ims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



              Name and mailing address                                                         On which line in Part 1 or Part 2 is the         Last 4 digits of
                                                                                               related creditor (if any) listed?                account number, if
                                                                                                                                                any
          City National Bank
4.1.      1450 Brickell Ave                                                                         3.13
                                                                                               Line _____
          Suite 2910                                                                                                                            ________________
          Miami, FL, 33131                                                                          Not listed. Explain:


          CJC Law Office
4.2.
          201 Solar Street                                                                     Line 3.8
                                                                                                    _____
          Syracuse, NY, 13204                                                                     Not listed. Explain                          ________________



          De Lage Landen Financial Services, Inc.                                                   3.27
4.3.                                                                                           Line _____
          PO Box 41602
          Philadelphia, PA, 19101-1602                                                            Not listed. Explain                          ________________


          DLL Financial Solutions Partner
4.4.      1111 Old Eagle School Road                                                                3.27
                                                                                               Line _____
          Wayne, PA, 19087                                                                                                                      ________________
                                                                                                  Not listed. Explain

          Hewlett Packard Financial Services Company
41.       PO Box 402582                                                                             3.22
                                                                                               Line _____
          Atlanta, GA, 30384-2582                                                                                                               ________________
                                                                                                  Not listed. Explain

          Hewlett Packard FS
4.5.      1501 Page Mill Road
                                                                                                    3.22
                                                                                               Line _____
          Palo Alto, CA, 94304                                                                    Not listed. Explain                          ________________


          ThyssenKrupp Elevator Corporation
4.6.      3100 Interstate North Cir SE
                                                                                                    3.35
                                                                                               Line _____
          Ste 500                                                                                 Not listed. Explain                          ________________
          Atlanta, GA, 30339-2227

          TRICARE                                                                                   3.36
4.7.                                                                                           Line _____
          PO Box 7981
          Madison, WI                                                                             Not listed. Explain                          ________________



4.8.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.9.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.10.                                                                                          Line _____

                                                                                                  Not listed. Explain                          ________________



4.11.
                                                                                               Line _____

                                                                                                  Not listed. Explain                          ________________




       Official Form 206E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                                              11
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 Debtor        _______________________________________________________                    Case number (if known)_____________________________________
               Name



Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                                  Total of claim amounts



5a. Total claims from Part 1                                                                         5a.
                                                                                                                    800,000.00
                                                                                                                  $_____________________________




5b. Total claims from Part 2                                                                         5b.    +       7,781,407.74
                                                                                                                  $_____________________________




5c. Total of Parts 1 and 2                                                                                          8,581,407.74
                                                                                                     5c.          $_____________________________
   Lines 5a + 5b = 5c.




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                                                                                                                                                       11
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 Fill in this information to identify the case and this filing:

              Destination Hope, Inc.
 Debtor Name __________________________________________________________________

                                         Southern District of Florida
 United States Bankruptcy Court for the: ________________________________

 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         ✔    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    08/28/2020
        Executed on ______________                          /s/ Benjamin Brafman
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Benjamin Brafman
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  President
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                              United States Bankruptcy Court
                                  Southern District of Florida




         Destination Hope, Inc.
In re:                                                             Case No.

                                                                   Chapter    11
                      Debtor(s)




                              Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




               08/28/2020                            /s/ Benjamin Brafman
Date:
                                                     Signature of Individual signing on behalf of debtor

                                                     President
                                                     Position or relationship to debtor
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121 Capital
178 Manhattan Street
Staten Island, NY 10307


3831 Crystal Lake Drive, LLC
2707-2709 NE 33rd Ave
Fort Lauderdale, FL 33308


Aetna
PO Box 14079
Lexington, KY 40512


AJ Equity Group, LLC
1648 61st Street
Brooklyn, NY 11204


Alantes Corp attn: Ken Dotson
510 5th Avenue
3rd Floor
New York, NY 10036


Andrew Merker
1535 Mt Vernon Rd
Dunwoody, GA 30338


Anthony S. Hearn P.A
One Biscayne Tower
2 Biscayne Blvd, Ste 3400
Miami, FL 33131


Bankers Healthcare Group, LLC
201 Solar Street
Syracuse, NY 13204


BMF Capital
1820 Avenue M
Brooklyn, NY 11230


Broward County Tax Collector
115 S. Andrews Ave
Room # A100
Fort Lauderdale, FL 33301


CapFlow
2232 Brigham Street
Brooklyn, NY 11229


Cigna
900 Cottage Grove Road
Hartford, CT 6152
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Cindy Wisdom
821 NW 66th Avenue
Plantation, FL 33317-1235


City National Bank
100 SE 2nd St.
Miami, FL 33131


City National Bank
1450 Brickell Ave
Suite 2910
Miami, FL 33131


City of Deerfield Beach
401 SW 4th Street
Deerfield Beach, FL 33441-4666


CJC Law Office
201 Solar Street
Syracuse, NY 13204


Daszkal Bolton LLP
2401 NW Boca Raton Boulevard
Boca Raton, FL 33431-6632


David Gussack
1851 Blount Road
Pompano Beach, FL 33069


De Lage Landen Financial Services, Inc.
PO Box 41602
Philadelphia, PA 19101-1602


DLL Financial Solutions Partner
1111 Old Eagle School Road
Wayne, PA 19087


EastGroup Properties Inc.
3495 Piedmont Road NE
Building 11, Ste #350
Atlanta, GA 30305


Florida Dept of Revenue
5050 W Tennessee Street
Bldg L
Tallahassee, FL 32399-0180


Ford Credit
PO Box 650575
Dallas, TX 75265-0575
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Group 716, LLC
245 Country Club Drive
Suite 300D
Stockbridge, GA 30281


Halpern Family Trust
1711 N. Fort Lauderdale Beach Blvd
Fort Lauderdale, FL 33305


Healthpac Computer
1010 East Victory Drive
Suite B
Savannah, GA 31405


HealthSmart Benefit
PO Box 3244
Charleston, WV 25332-3244


Hewlett Packard Financial Services Co.
200 Connell Drive
Suite 5000
Berkeley Heights, NJ 07922


Hewlett Packard Financial Services Company
PO Box 402582
Atlanta, GA 30384-2582


Hewlett Packard FS
1501 Page Mill Road
Palo Alto, CA 94304


Internal Revenue Service
111 Constitution Avenue NW
Washington , DC


Linda Hess
1620 NW 121 Way
Gainesville, FL 32606


Marlin Capital Solutions
300 Fellowship Road
Mount Laurel, NJ 08054


MD Solutions Group
3330 Fairchild Gardens Ave
Palm Beach Gardens, FL 33420


Michael Anthony Volpe
178 Manhattan Street
Staten Island, NY 10307
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Milner, Inc.
PO Box 923197
Norcross, GA 30010-3197


Mr. Advance LLC
35-12 19th Ave
Astoria, NY 11105


Newtek Small Business Finance, LLC
1981 Marcus Avenue
Suite 130
Lake Success, NY 11042


Nole Financial
701 Brickell Key Blvd.
Miami, FL 33131


Pawnee Leasing Corp.
3801 Automation Way
Suite 207
Fort Collins, CO 80525


Pontus SW Portfolio LLC
875 Prospect Street
Suite 303
La Jolla, CA 92037


Professional Revenue Recovery Solutions, Inc.
13630 NW 8th St.
Suite 220
Sunrise, FL 33325


SBA
51 SW 1st Ave #201, Miami, FL 33130
Miami, FL 33130


SG Credit Partners
23 Corporate Plaza
Suite #100
Newport Beach, CA 92660


Shaboon Air & Refrigeration
3530 NW 32nd Court
Lauderdale Lakes, FL 33309


ThyssenKrupp Elevator Corporation
PO Box 3796
Carol Stream, IL 60132-3796


ThyssenKrupp Elevator Corporation
3100 Interstate North Cir SE
Ste 500
Atlanta, GA 30339-2227
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TRICARE
PO Box 8923
Madison, WI 53707-8923


TRICARE
PO Box 7981
Madison, WI


Ultimate Water, LLC
PO Box 677784
Dallas, TX 75267-7784


Vanguard c/o Ascensus
415 8th Avenue NE
Brainerd, MN 56401


Waystar Revenue Cycle Technology
1311 Solutions Center
Chicago, IL 60677-1311


Weiss Serota Helfman Cole & Bierman, P.L.
1200 N. Federal Highway
Suite 312
Boca Raton, FL 33432
